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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

     UNITED HEALTHCARE                      §
     SERVICES, INC. and UNITED              §
     HEALTHCARE COMPANY,                    §
                                            §
            Plaintiffs,                     §
                                            §
     v.                                     §      Case No. 3:21-cv-1547-L-BT
                                            §
     JEREMY ROSSEL, AMIR                    §
     MORTAZAVI, CARY ROSSEL,                §
     ARVIN ZEINALI, YAN NAROSOV,            §
     and SEMYON NAROSOV,                    §
                                            §
            Defendants.                     §

                                        ORDER

          This matter has been referred to the undersigned for pretrial management

  and, pursuant to the Standing Order of Reference, the undersigned is directed “to

  notify the court when the case is ready for a trial setting.” ECF No. 672 at 1.

          At this juncture, the undersigned has issued findings, conclusions and

  recommendations as to all dispositive motions and has resolved all non-dispositive

  motions.

          Two matters are pending before the District Judge: (1) Defendant Amir

  Mortazavi’s Objections to the Magistrate Judge’s Memorandum Opinion and

  Order Denying Motion to Stay (“Mortazavi’s Objections”) (ECF No. 764), filed




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  October 29, 2024 1; and (2) the Findings, Conclusions, and Recommendation of the

  United States Magistrate Judge (ECF No. 782) recommending the District Judge

  grant Plaintiffs’ Renewed Motion for Default Judgment Against Semyon Narosov

  with respect to liability but deny it as premature with respect to damages.

        In the event the District Judge overrules Mortazavi’s Objections (ECF No.

  764), this matter is ready for a trial setting.

        Following the District Judge’s September 27, 2024 Order (ECF No. 756) 2,

  remaining for trial are Plaintiffs’ claims for fraud against Defendants Cary Rossel,

  Jeremy Rossel, Amir Mortazavi, Arvin Zeinali, and Yan Narosov (Count 1);

  conspiracy to commit fraud against Defendants Cary Rossel, Jeremy Rossel, and

  Amir Mortazavi (Count 2); and violations of RICO, 18 U.S.C. § 1962(c), against

  Defendants Cary Rossel, Jeremy Rossel, Amir Mortazavi, Arvin Zeinali, and Yan

  Narosov (Count 12). See Second Am. Compl., ECF No. 584. In the event the Court

  accepts the undersigned’s findings and recommendation with respect to Plaintiffs’



  1 Plaintiffs filed a response to Mr. Mortazavi’s Objections (see ECF No. 773), and

  Mr. Mortazavi filed a reply (see ECF No. 774).
  2 On July 23, 2024, the undersigned issued Findings, Conclusions and
  Recommendation (ECF No. 752), recommending that the District Judge (1) grant
  in part Defendants Cary Rossel and Jeremy Rossel’s Motion for Summary
  Judgment (ECF No. 679) to the extent that Plaintiffs’ claims for fraud by
  nondisclosure and for alleged violations of the Texas Uniform Fraudulent Transfer
  Act (TUFTA) be dismissed with prejudice; and (2) deny Plaintiffs
  UnitedHealthcare Services, Inc. and UnitedHealthcare Insurance Company’s
  Motion for Partial Summary Judgment Against Defendants Amir Mortazavi and
  Arvin Zeinali (ECF No. 681). On September 27, 2024, the District Judge overruled
  Plaintiffs’ objections, accepted the undersigned’s Findings, Conclusions, and
  Recommendation, and dismissed with prejudice Plaintiffs’ claims for fraud by
  nondisclosure and for alleged violations of TUFTA.

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  Renewed Motion for Default Judgment Against Semyon Narasov (see ECF No.

  782), only damages remain to be determined with respect to Defendant Semyon

  Narosov.

        SO ORDERED.

        May 20, 2025.
                                         ____________________________
                                         REBECCA RUTHERFORD
                                         UNITED STATES MAGISTRATE JUDGE




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